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 1   NICHOLAS M. WAJDA (State Bar #259178)
     Attorney Email Address: nick@wajdalawgroup.com
 2   WAJDA LAW GROUP, APC
 3   11400 West Olympic Boulevard, Suite 200M
     Los Angeles, California 90064
 4   Telephone: (310) 997-0471
     Facsimile: (866) 286-8433
 5   Attorney for Plaintiff
 6

 7                                UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9

10    BEVERLY J. BAKER,                           Case No. 2:18-cv-10771
11                      Plaintiff,                COMPLAINT FOR DAMAGES
12           v.                                   1. VIOLATION OF THE TELEPHONE
                                                  CONSUMER PROTECTION ACT, 47 U.S.C.
13                                                §227 ET SEQ.
      BANK OF THE WEST,
14                                                2. VIOLATION OF THE ROSENTHAL FAIR
                        Defendant.                DEBT COLLECTION PRACTICES ACT,
15                                                CAL. CIV. CODE §1788 ET SEQ.
16                                                DEMAND FOR JURY TRIAL
17

18                                           COMPLAINT
19          NOW comes BEVERLY J. BAKER (“Plaintiff”), by and through her attorneys, WAJDA
20
     LAW GROUP, APC (“Wajda”), complaining as to the conduct of BANK OF THE WEST
21
     (“Defendant”) as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection Act
24

25   (“TCPA”) under 47 U.S.C. § 227 et seq. and the Rosenthal Fair Debt Collection Practices Act

26   (“RFDCPA”) pursuant to Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.
27                                     JURISDICTION AND VENUE
28
                                                     1
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 1       2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 47 U.S.C. §227, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim pursuant
 4
     to 28 U.S.C. §1367, because it arises out of the common nucleus of operative facts of Plaintiff’s
 5
     federal question claims.
 6

 7       3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in the Central

 8   District of California and a substantial portion of the events or omissions giving rise to the claims

 9   occurred within the Central District of California.
10
                                                    PARTIES
11
         4. Plaintiff is a consumer over-the-age of 18, residing in Los Angeles County, California,
12
     which is located within the Central District of California.
13
         5. Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).
14

15       6. Defendant is engaged in the business of offering credit services and collecting or attempting

16   to collect, directly or indirectly, debts owed or due using the mail and telephone from consumers
17   across the country, including consumers located in the state of California.             Defendant is a
18
     corporation organized under the laws of the state of California with its principal place of business
19
     located at 180 Montgomery St, 25th Floor, San Francisco, California 94104.
20
         7. Defendant is a “person” as defined by 47 U.S.C. § 153(39).
21

22       8. Defendant acted through its agents, employees, officers, members, directors, heirs,

23   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times

24   relevant to the instant action.
25                                 FACTS SUPPORTING CAUSES OF ACTION
26
         9. Several years ago, Plaintiff obtained a line of credit through Defendant.
27

28
                                                         2
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 1       10. Thereafter, Plaintiff experienced financial hardship and began falling behind on her
 2   scheduled payments, thus incurring debt (“subject debt”).
 3
         11. Around the late summer of 2018, Plaintiff began receiving calls to her cellular phone, (626)
 4
     XXX-4495, from Defendant.
 5
         12. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
 6

 7   operator of the cellular phone ending in 4495. Plaintiff is and always has been financially

 8   responsible for the cellular phone and its services.

 9       13. Defendant has primarily used the phone number (800) 653-0362 when placing calls to
10
     Plaintiff’s cellular phone. Upon belief, Defendant has used additional phone numbers as well.
11
         14. Upon information and belief, the above-referenced phone number ending in 0362 is
12
     regularly utilized by Defendant during its debt collection activities.
13
         15. During answered calls from Defendant, Plaintiff experiences a noticeable pause, lasting a
14

15   handful of seconds in length, and has to repeatedly say “hello” before a live representative begins

16   to speak.
17       16. Upon speaking with Defendant, Plaintiff was informed that Defendant was seeking to
18
     collect upon the subject debt.
19
         17. Plaintiff explained her inability to address the subject debt and informed Defendant that she
20
     was declaring bankruptcy.
21

22       18. After explaining her inability to address the subject debt, Plaintiff asked that Defendant

23   contact her bankruptcy attorney instead.

24       19. Defendant willfully ignored Plaintiff’s demands and continued placing phone calls to
25   Plaintiff’s cellular phone.
26
         20. When Defendant refused to contact Plaintiff’s attorney instead of her, Plaintiff demanded
27
     that it stop calling her cellular phone.
28
                                                        3
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 1       21. Despite Plaintiff’s demands, Defendant continued to relentlessly place phone calls to
 2   Plaintiff’s cellular phone up until the filing of this lawsuit.
 3
         22. Plaintiff has received not less than 30 phone calls from Defendant since demanding that it
 4
     stop contacting her.
 5
         23. Frustrated over Defendant’s conduct, Plaintiff spoke with Wajda regarding her rights,
 6

 7   resulting in expenses.

 8       24. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

 9       25. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
10
     limited to: invasion of privacy, aggravation that accompanies collection telephone calls, emotional
11
     distress, increased risk of personal injury resulting from the distraction caused by the never-ending
12
     calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular
13
     phone functionality, decreased battery life on her cellular phone, and diminished space for data
14

15   storage on her cellular phone.

16              COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
17       26. Plaintiff repeats and realleges paragraphs 1 through 25 as though fully set forth herein.
18
         27. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their
19
     cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The
20
     TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to
21

22   store or produce telephone numbers to be called, using a random or sequential number generator;

23   and to dial such numbers.”

24       28. Defendant used an ATDS in connection with its communications directed towards
25   Plaintiff’s cellular phone. During answered calls from Defendant, Plaintiff experienced a noticeable
26
     pause lasting a handful of seconds in length, and had to repeatedly say “hello” prior to being
27
     connected with a live representative, which is instructive that an ATDS was being utilized to
28
                                                          4
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 1   generate the calls. Moreover, the nature and frequency of Defendant’s contacts points to the
 2   involvement of an ATDS.
 3
        29. Defendant violated the TCPA by placing at least 30 phone calls to Plaintiff’s cellular phone
 4
     using an ATDS without her consent. Any consent Plaintiff may have given to Defendant by virtue
 5
     of incurring the subject debt was explicitly revoked by her demands that it cease contacting her.
 6

 7      30. The calls placed by Defendant to Plaintiff were regarding business transactions and not for

 8   emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).

 9      31. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for
10
     at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA
11
     should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise
12
     entitled to under 47 U.S.C. § 227(b)(3)(C).
13
        WHEREFORE, Plaintiff, BEVERLY J. BAKER, respectfully requests that this Honorable
14

15   Court enter judgment in her favor as follows:

16      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned statutes and regulations;
17
        b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
18
           to 47 U.S.C. §§ 227(b)(3)(B)&(C);
19
        c. Awarding Plaintiff costs and reasonable attorney fees;
20
        d. Enjoining Defendant from further contacting Plaintiff; and
21

22      e. Awarding any other relief as this Honorable Court deems just and appropriate.

23
           COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
24

25      32. Plaintiff restates and realleges paragraphs 1 through 31 as though fully set forth herein.

26      33. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
27

28
                                                       5
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 1       34. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)
 2   and (f).
 3
         35. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
 4
                a. Violations of RFDCPA § 1788.17
 5
         36. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
 6

 7   provision of this title, every debt collector collecting or attempting to collect a consumer debt shall

 8   comply with the provisions of Section 1692b to 1692j [of the Fair Debt Collection Practices Act

 9   (“FDCPA”)], inclusive of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
10
     United States Code.”
11
                          i. Violations of the FDCPA §1692c and §1692d
12
         37. The FDCPA, pursuant to 15 U.S.C. §1692c(a)(2), prohibits a debt collector from
13
     “communicat[ing] with a consumer in connection with the collection of a debt if the debt collector
14

15   knows the consumer is represented by an attorney…”

16       38. Defendant violated c(a)(2) when it placed over 30 calls to Plaintiff’s cellular phone after it
17   knew that Plaintiff was represented by an attorney.
18
         39. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in
19
     any conduct the natural consequence of which is to harass, oppress, or abuse any person in
20
     connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring
21

22   or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

23   abuse, or harass any person at the called number.”

24       40. Defendant violated §1692c(a)(1), d and d(5) when it repeatedly called Plaintiff after being
25   notified to stop. This behavior of systematically calling Plaintiff’s phone on a systematic basis in
26
     spite of her demands was harassing and abusive. The frequency and nature of calls shows that
27
     Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and harassing her.
28
                                                        6
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 1      41. Defendant was notified by Plaintiff that its calls were not welcomed, especially since
 2   Plaintiff was filing for bankruptcy. As such, Defendant knew that its conduct was inconvenient
 3
     and harassing to Plaintiff.
 4
                            ii. Violations of the FDCPA § 1692e
 5
        42. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
 6

 7   deceptive, or misleading representation or means in connection with the collection of any debt.”

 8      43. In addition, this section enumerates specific violations, such as:

 9              “The use of any false representation or deceptive means to collect or attempt to
                collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
10              §1692e(10).
11      44. Furthermore, Defendant violated §1692e and e(10) when it used deceptive means to collect
12
     and/or attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop
13
     contacting her, Defendant continued to contact her. Instead of putting an end to this harassing
14
     behavior, Defendant placed repeated calls to Plaintiff’s cellular phone in a deceptive attempt to
15

16   force her to answer its calls and ultimately make a payment. Through its conduct, Defendant

17   misleadingly represented to Plaintiff that it had the legal ability to contact her after she explained

18   that she could not pay.
19
                            iii. Violations of FDCPA § 1692f
20
        45. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
21
     unconscionable means to collect or attempt to collect any debt.”
22
        46. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a
23

24   debt by repeatedly calling Plaintiff after being notified to stop. Attempting to coerce Plaintiff into

25   payment by placing voluminous phone calls without her permission is unfair and unconscionable
26   behavior. These means employed by Defendant only served to worry and confuse Plaintiff.
27

28
                                                        7
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 1      47. Defendant willfully and knowingly violated the RFDCPA. Defendant was aware that
 2   Plaintiff was represented by an attorney regarding the subject debt, but yet continued to bombard
 3
     Plaintiff with collection notices, demanding payment for the subject debt. Moreover, Defendant
 4
     continued to call Plaintiff’s cellular phone after she specifically asked it to stop contacting her.
 5
     Defendant’s willful and knowing violations of the RFDCPA should trigger this Honorable Court’s
 6

 7   ability to award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ. Code §

 8   1788.30(b).

 9      48. As plead in paragraphs 22 through 25, Plaintiff has been harmed and suffered damages as
10
     a result of Defendant’s illegal actions.
11
             WHEREFORE, Plaintiff, BEVERLY J. BAKER, respectfully requests that this Honorable
12
     Court enter judgment in her favor as follows:
13
        a. Declare that the practices complained of herein are unlawful and violate the aforementioned
14
           statute;
15
        b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
16
        c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
17         1788.30(b);
18
        d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
19         § 1788.30(c); and

20      e. Award any other relief as the Honorable Court deems just and proper.
21

22      Dated: December 31, 2018                           Respectfully submitted,
23
                                                  By: /s/ Nicholas M. Wajda
24                                                Nicholas M. Wajda
                                                  WAJDA LAW GROUP, APC
25                                                11400 West Olympic Boulevard, Suite 200M
                                                  Los Angeles, California 90064
26                                                Telephone: (310) 997-0471
                                                  Facsimile: (866) 286-8433
27
                                                  Email: nick@wajdalawgroup.com
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